     Case 2:90-cv-00520-KJM-DB Document 7941 Filed 09/08/23 Page 1 of 4


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10                                          UNITED STATES DISTRICT COURT

11                                         EASTERN DISTRICT OF CALIFORNIA

12                                             SACRAMENTO DIVISION

13

14 RALPH COLEMAN, et al.,                                      Case No. 2:90-CV-00520- KJM-DB

15                           Plaintiffs,                       JOINT STATEMENT REGARDING
                                                               PRESENTATION OF WITNESSES
16              v.

17 GAVIN NEWSOM, et al.                                        Judge:   Hon. Kimberly J. Mueller

18                           Defendants.

19

20              In its August 11, 2023 order, this Court instructed the parties to file, on or before

21 September 8, 2023 at 12:00 p.m., “a detailed witness list that includes the order of witnesses and

22 the anticipated time for each witness’s testimony, inclusive of direct, cross-examination, and

23 rebuttal.” ECF No.7916 at 2:12-14. Accordingly, the parties have met and conferred and submit

24 the following information in response to the Court’s order.

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     [4355855.1]19889776.2                                                      Case No. 2:90-CV-00520- KJM-DB
                                                           1
     JOINT STATEMENT REGARDING PRESENTATION OF WITNESSES
     Case 2:90-cv-00520-KJM-DB Document 7941 Filed 09/08/23 Page 2 of 4


 1                                    Witness Order and Length of Testimony

 2              The parties agree that witnesses shall be called in the following order, with their

 3 corresponding best estimate for the length of their testimony1:

 4                    1. Dr. Erica Greulich2 (Defendants’ expert)

 5                              Defendants’ estimate for direct and redirect: 4 hours
 6                              Plaintiffs’ estimate for cross examination: 90 minutes
 7                    2. Jasinda Muhammad (Defense witness)

 8                              Defendants’ estimate for direct and redirect: 4 hours
 9                              Plaintiffs’ estimate for cross examination: 60 minutes
10                    3. Angela Ponciano (Defense witness)

11                              Defendants’ estimate for direct and redirect: 2 hours
12                              Plaintiffs’ estimate for cross examination: 60 minutes
13                    4. Toni Martello (Defense witness)

14                              Defendants’ estimate for direct and redirect: 2 hours
15                              Plaintiffs’ estimate for cross examination: 60 minutes
16                    5. Amar Mehta (Defense witness)

17                              Defendants’ estimate for direct and redirect: 3 hours
18                              Plaintiffs’ estimate for cross examination: 60 minutes
19                    6. Dr. Timothy Brown (Plaintiffs’ expert)

20                              Plaintiffs’ estimate for direct and redirect: 90 minutes
21                              Defendants’ estimate for cross examination: 3 hours
22                    7. Dr. Joseph Bick (Plaintiffs’ witness)

23                              Plaintiffs’ estimate for direct and redirect: 45 minutes
24
     1
     Defendants previously proposed and requested that they be permitted to present direct witness
25 testimony via declaration to ensure a fulsome and complete record. The Court rejected this
   request “absent a stipulation of the parties providing for a different mode of testimony for a
26 specific witness or witnesses.” ECF No. 7916 at 2:10-11. Plaintiffs’ counsel advised Defendants

27 on August 24, 2023 that they would not agree to any declarations for percipient witnesses.
     2
28       Both parties reserve the right to modify the order of their witnesses if necessary.

     [4355855.1]19889776.2                                                       Case No. 2:90-CV-00520- KJM-DB
                                                            2
     JOINT STATEMENT REGARDING PRESENTATION OF WITNESSES
     Case 2:90-cv-00520-KJM-DB Document 7941 Filed 09/08/23 Page 3 of 4


 1                              Defendants’ estimate for cross examination: 60 minutes
 2                    8. Dr. Alexandra David (Plaintiffs’ witness)
 3                              Plaintiffs’ estimate for direct and redirect: 45 minutes
 4                              Defendants’ estimate for cross examination: 60 minutes
 5                    9. Dr. Shelly Minor (Plaintiffs’ witness)
 6                              Plaintiffs’ estimate for direct and redirect: 45 minutes
 7                              Defendants’ estimate for cross examination: 60 minutes
 8                    10. Dr. Kelley Francheschi (Plaintiffs’ witness)
 9                              Plaintiffs’ estimate for direct and redirect: 45 minutes
10                              Defendants’ estimate for cross examination: 60 minutes
11                    11. Dr. Paul Burton (Plaintiffs’ witness)
12                              Plaintiffs’ estimate for direct and redirect: 45 minutes
13                              Defendants’ estimate for cross examination: 60 minutes
14

15              In light of the above time estimates, and inclusive of 10-minute opening statements per
16 side, the parties estimate the total length of time for the staffing contempt proceeding to be: 34

17 hours, or approximately 6 court days consisting of 6 hours of testimony each day.

18

19 DATED: September 8, 2023                                   ROB BONTA
                                                              Attorney General of California
20                                                            DAMON MCCLAIN
                                                              Supervising Deputy Attorney General
21

22                                                      By:          /s/ Elise Owens Thorn
                                                              ELISE OWENS THORN
23                                                            Deputy Attorney General
                                                              Attorneys for Defendants
24

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     [4355855.1]19889776.2                                                       Case No. 2:90-CV-00520- KJM-DB
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     JOINT STATEMENT REGARDING PRESENTATION OF WITNESSES
     Case 2:90-cv-00520-KJM-DB Document 7941 Filed 09/08/23 Page 4 of 4


 1 DATED: September 8, 2023                 HANSON BRIDGETT LLP

 2

 3
                                        By:          /s/ Samantha Wolff
 4                                            PAUL B. MELLO
                                              SAMANTHA D. WOLFF
 5                                            Attorneys for Defendants
 6

 7     DATED: September 8, 2023       Respectfully submitted,

 8                                    ROSEN BIEN GALVAN & GRUNFELD LLP
 9
                                      By:      /s/ Jenny Yelin
10                                             Jenny Yelin
                                               Attorneys for Plaintiffs
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     [4355855.1]19889776.2                                         Case No. 2:90-CV-00520- KJM-DB
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     JOINT STATEMENT REGARDING PRESENTATION OF WITNESSES
